                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


DIRECT IMAGING SYSTEMS, INC.,
a Florida corporation,                              Case No. 8:05CV2224-TC24 TGW

       Plaintiff/Counter-Defendant,

v.

U.S. GRAPHIC ARTS, INC.,
an Arizona corporation, d/b/a
U.S. SCREEN PRINTING INSTITUTE,

      Defendant/Counter-Plaintiff.
___________________________________/

             PLAINTIFF’S MOTION FOR ENTRY OF A FINAL DEFAULT
                JUDGMENT AND PERMANENT INJUNCTION AND
            MOTION TO STRIKE DEFENDANT’S COUNTERCLAIMS AND
                     MEMORANDUM OF LAW IN SUPPORT

       Pursuant to this Court’s Order allowing Defendant’s counsel to withdraw [Dkt. 56], the

Clerk’s Entry of Default [Dkt. 62], and Fed. R. Civ. P. 55(b)(2), Plaintiff moves the Court to

enter a final default judgment against Defendant U.S. Graphic Arts, Inc. for its failure to defend

itself. Plaintiff also requests a permanent injunction be entered against Defendant. Plaintiff

further moves to strike Defendant’s counterclaims. In support of this motion, Plaintiff states as

follows.

       I.      Procedural History

       On December 6, 2005, Direct Imaging filed this patent-infringement lawsuit concerning

U.S. Patent No. 6,095,628 entitled “Apparatus for Ink Jet Printing.”     Defendant appeared and

unsuccessfully sought dismissal for lack of personal jurisdiction. [See Dkt. 12.] Defendant then

filed an answer and counterclaim, asking for declarations that the ‘628 Patent was invalid and not

infringed. [See Dkt. 15.] Shortly thereafter, Defendant asked the U.S. Patent and Trademark
Office (USPTO) to reexamine the ‘628 Patent and asked this Court to stay these proceedings

pending resolution of the reexamination. [See Dkt. 21.] The Court stayed this litigation and

ordered Plaintiff to file regular status updates. [See Dkt. 30.] Throughout the 3-year pendency

of the reexamination, Plaintiff filed regular status updates with the Court. [See Dkts. 36, 38, 44,

45, 46, 48, and 49.] These status updates were filed with the Court’s CM/ECF system, which

provided notice to Defendant’s counsel. Defendant’s counsel provided notice to the Court of

changes to Defendant’s counsel during the pendency of the reexamination. [See Dkt. 41.]

       On March 29, 2011, the USPTO issued a Reexamination Certificate, finally concluding

the reexamination proceedings. Shortly thereafter, Plaintiff sought to reopen the litigation and

began conducting good faith conferences with Defendant as required by L.R. 3.01(g).

Defendant’s counsel then informed Plaintiff that Defendant had dissolved and that Defendant’s

counsel had no contact with Defendant. Defense counsel sought withdrawal, which Plaintiff did

not oppose. [Dkts. 53, 55.] The Court granted the motions to withdraw and directed Plaintiff to

seek default or dismissal. On July 13, 2011, the Clerk of Court entered default against the

Defendant for failure to defend this action. [See Dkt. 62.] The Court permitted Plaintiff to

conduct discovery regarding the extent of its damages and also ordered Plaintiff to seek entry of

default judgment on or before December 1, 2011. [See Dkt. 59.] Plaintiff has conducted such

discovery and now seeks entry of a final default judgment by way of this motion.

       II.     Legal Background

       Rule 55(a), Federal Rules of Civil Procedure, provides “when a party against whom a

judgment for affirmative relief is sought has failed to plead or otherwise defend as provided by

these rules and that fact is made to appear by affidavit or otherwise,”default judgment may be

entered. See also Directv, Inc. v. Griffin, 290 F.Supp.2d 1340, 1343 (M.D. Fla. 2003). “A




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defendant, by his default, admits the plaintiff’s well-pleaded allegations of fact, is concluded on

those facts by the judgment, and is barred from contesting on appeal the facts thus established.”

Eagle Hosp. Physicians, LLC v. SRG Consulting, Inc., 561 F.3d 1298, 1307 (11th Cir. 2009)

(quotation and citation omitted).

       In the present case, by virtue of its default, Defendant is deemed to have admitted the

following allegations from the Complaint: that Plaintiff is the owner of U.S. Pat. 6,095,628 [Dkt.

4 at ¶7]; that Defendant infringed the claims of the ‘628 Patent by making, using, or selling

infringing ink jet printing devices [id. at ¶8]; that Plaintiff suffered monetary damages as a result

of such infringement [id. at ¶9]; that Plaintiff is entitled to a permanent injunction restraining

Defendant from infringing the ‘628 Patent [id. at ¶A]; that any damage award be trebled under

35 U.S.C. § 284 as a result of Defendant’s willful infringement [id. at ¶B]; and that Plaintiff be

awarded its reasonable attorneys’fees [id. at ¶C].

       III.    Monetary Damages

       Having admitted all the essential elements of a claim for willful patent infringement, this

Court must now determine the amount of monetary damages. See Arista Records, Inc. v. Beker

Enters., 298 F. Supp. 2d 1310, 1311-12 (S.D. Fla. 2003). In determining a damage award, the

Court may rely upon affidavits or documentary evidence to establish the proper amount of

damages. See Int’l Painters & Allied Trades Indus. Pension Fund v. R.W. Amrine Drywall Co.,

239 F. Supp. 2d 26, 30 (D.D.C. 2002). If the affidavit and documents are sufficient, the Court is

not required to conduct an evidentiary hearing. See DIRECTV, Inc. v. Huynh, 318 F. Supp. 2d

1122, 1129 ( M.D. Ala. 2004). In accordance with 35 U.S.C. §284, a prevailing patentee is

entitled to “damages adequate to compensate for the infringement, but in no event less than a

reasonable royalty.” A reasonable royalty can be calculated from an established royalty, the




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infringer’s profit projections for infringing sales, or a hypothetical negotiation between the

patentee and infringer based on the factors in Georgia–Pacific Corp. v. U.S. Plywood Corp., 318

F. Supp. 1116, 1120 (S.D.N.Y. 1970). See Wordtech Systems, Inc. v. Integrated Networks

Solutions, Inc., 609 F.3d 1308, 1319 (Fed. Cir. 2010).

        As noted in the Declaration of Andrew D. Romines1, Plaintiff has an established royalty

by which to compute a reasonable royalty in this case. Furthermore, Plaintiff has taken the

deposition of Scott Fresener, who is the former CEO of U.S. Graphic Arts, Inc. Mr. Fresener has

estimated both the number of infringing products that were sold and the approximate revenue

received from these sales. Mr. Fresener testified that the sales at issue took place between 2004

and 2009, well after the issuance of the ‘628 Patent. As more fully explained in the Romines

Declaration, Plaintiff is entitled to a reasonable royalty of $1,000,000 as a result of Defendant’s

infringing activities. As pled in the Complaint, Plaintiff is entitled to an award three times this

amount in accordance with 35 U.S.C. § 284.

        Thus, Plaintiff seeks entry of a final default judgment against U.S. Graphic Arts, Inc. for

monetary damages in the amount of $3,000,000.

        IV.      Attorneys’Fees

        The patent statute authorizes the Court “in exceptional cases” to award “reasonable

attorney fees to the prevailing party.” 35 U.S.C. § 285. While the award of fees is discretionary,

willful infringement is a sufficient basis for classifying the case as “exceptional.” See Modine

Mfg. Co. v. Allen Group, Inc., 917 F.2d 538, 543 (Fed. Cir. 1990). In this case, by virtue of its

default, Defendant has admitted the infringement was willful. The purpose of the attorney fees

statute has been described by the Federal Circuit as “to compensate the prevailing party for its


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        The Declaration of Andrew D. Romines contains sensitive business information and Plaintiff has filed a
concurrent motion to file it under seal pursuant to M.D. Fla. LR 1.09(a).


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monetary outlays in the prosecution or defense of the suit.”See Central Soya Co., Inc. v. Geo. A.

Hormel & Co., 723 F.2d 1573, 1578 (Fed. Cir. 1983).

       Here, the law firm of Gray Robinson, P.A. has expended a total of 78.6 hours on this

matter since seeking to reopen the litigation on May 4, 2011. Although different attorneys with

differing billing rates worked on this matter, the blended hourly rate for all work performed was

approximately $279.00 Thus, the total legal fees amount to approximately $21,929. These fees

are believed to be reasonable given the experience level of the attorneys working on the matter

and the tasks involved in reopening the litigation, reviewing the patent and infringement

contentions following the re-examination, conducting depositions, and moving for entry of a

default judgment. To the extent the Court finds it necessary, Plaintiff can provide a more

detailed declaration regarding the nature of the work done and the reasonableness of the fees.

       Thus, Plaintiff seeks entry of a final judgment against U.S. Graphic Arts, Inc. for

attorneys’fees in the amount of $21,929.

       V.      Permanent Injunction

       Plaintiff also requests entry of a permanent injunction against Defendant. To the extent

the Court grants a default judgment, Defendant will be deemed an infringer. An injunction is an

appropriate remedy in patent infringement cases.       See 35 U.S.C. § 283.       By its default,

Defendant has admitted that an injunction is warranted. [See Dkt. 4 at ¶A.]

       “[T]he decision whether to grant or deny injunctive relief rests within the equitable

discretion of the district courts, and such discretion must be exercised consistent with the

traditional principles of equity, in patent disputes no less than in other cases governed by such

standards.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 393 (2006). A patentee seeking a

permanent injunction must demonstrate: (1) it has suffered irreparable injury; (2) remedies




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available at law are inadequate to compensate for that injury; (3) the balance of hardship between

the plaintiff and defendant warrants an injunction; and (4) the public interest would not be

disserved by an injunction. Id. Each of these factors warrants an injunction here.

       Courts frequently consider the first two factors together. See, e.g., Acumed LLC v.

Stryker Corp., 551 F.3d 1323, 1327 (Fed. Cir. 2008); Enpat, Inc. v. Budnic, slip op., 2011 WL

1196420 at **3-4 (M.D. Fla. Mar. 29, 2011). Here, damages will be inadequate to compensate

Plaintiff for its loss. Defendant ignored this litigation and underwent some purported form of

reorganization without regard to informing Plaintiff or the Court.           See Enpat, 2011 WL

1196420 at *4 (“Furthermore, an award of monetary damages would be inadequate here because

Budnic’s refusal to appear in the proceedings has prevented Enpat from discovering the full

extent of damages it could recover from Budnic.”) Indeed, the “essential attribute of a patent

grant is that it provides a right to exclude competitors from infringing the patent.” Acumed, 551

F.3d at 1328 (citing 35 U.S.C. § 154(a)(1)). Furthermore, by its default, Defendant admitted that

Plaintiff has suffered irreparable injury and has not adequate remedy at law. [See Dkt. 4 at

¶¶10-11.]

       Regarding the third factor – the balance of hardships – Defendant can not be heard to

complain. It has ignored its obligations in this litigation and, by default, will have admitted to

infringement.   On the other hand, Plaintiff has invested a considerable amount of time in

resources in obtaining and enforcing the ‘628 Patent. It is hard to see any hardship to Defendant.

       Regarding the public interest, “[t]he public has an interest in maintaining a strong patent

system.” TiVo Inc. v. EchoStar Commc’ns Corp., 446 F. Supp. 2d 664, 670 (E.D. Tex. 2006).

Here, the public interest would best be served by protecting Plaintiff’s patent rights.




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       Thus, Plaintiff respectfully requests entry of a permanent injunction against U.S. Graphic

Arts, Inc.

       VI.     Defendant’s Counterclaims Should be Stricken

       It is appropriate to strike a defendant’s counterclaims, particularly in a patent

infringement lawsuit. See Area 55, Inc. v. Celeras LLC, slip op., 2011 WL 1375307 at **2-3

(S.D. Cal. Apr. 11, 2011). Alternatively, because all well-pled allegations are deemed admitted

in the case of a default judgment, Defendant’s counterclaims seeking declarations of invalidity

and non-infringement should be dismissed with prejudice. For example, if default judgment is

entered against Defendant, Defendant will be deemed to admit that the ‘628 Patent is valid and

that Defendant’s activities constituted infringement. Accordingly, Plaintiff requests Defendant’s

counterclaims be stricken.

       VII.    Conclusion

       For the foregoing reasons, Plaintiff seeks entry of a Final Default Judgment against U.S.

Graphic Arts, Inc. for both damages and attorneys fees in the amount of $3,021,929. Plaintiff

further seeks entry of a permanent injunction preventing U.S. Graphic Arts, Inc. from any further

acts of infringement. Finally, Plaintiff seeks an order striking any and all counterclaims.

                                    L.R. 3.01(g) Certification

       Defendant is currently unrepresented, and thus Plaintiff is unable to confer concerning

the requested relief.


Dated: December 1, 2011




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                                             Respectfully submitted,

                                             /s/ Michael J. Colitz, III
                                             Michael J. Colitz, III, FBN: 164348
                                             Woodrow H. Pollack, FBN: 26802
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                                             ATTORNEYS FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

          I hereby certify that on December 1, 2011 I originally caused the foregoing to be filed

with the Court’s CM/ECF system. I further certify that a copy of the foregoing has been sent via

First Class U.S. Mail to:


                                      U.S. Graphic Arts, Inc.
                                        1901 E. 5th Street
                                        Tempe, AZ 85281

                                             /s/ Michael J. Colitz, III
                                             Attorney

# 2641319 v5




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